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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
                                           :
JARED AND PIMPORN CARTY                    : CIVIL ACTION
                                           :
                              Plaintiffs,  :
                                           :
      v.                                   : NO. 20-5585
                                           :
STEEM MONSTERS CORP. d/b/a                 :
SPLINTERLANDS, et al.                      :
                                           :
                                           :
                              Defendants. :
__________________________________________:

                              RULE 16 SCHEDULING ORDER

       AND NOW, this 6th day of May, 2021, following a telephone status conference with

counsel pursuant to Rule 16 of the Federal Rules of Civil Procedure, and by agreement of

counsel, IT IS ORDERED as follows:

       1. All discovery in this case is to be completed by November 8, 2021.

       2. Plaintiff shall be precluded from offering the testimony of expert witnesses at trial

unless on or before November 8, 2021, Plaintiff provides Defendant’s counsel with the name,

address, curriculum vitae and a signed, written expert report containing the findings, conclusions

and opinions, of each such witness.

       3. Defendant shall be precluded from offering the testimony of expert witnesses at trial

unless on or before December 7, 2021, Defendant provides Plaintiff's counsel with the name,

address, curriculum vitae and a signed, written expert report containing the findings, conclusions

and opinions, of each such witness.
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          4. Any dispositive motions, including motions for summary judgment pursuant to Rule

56 of the Federal Rules of Civil Procedure, shall be filed and served on or before December 7,

2021. 1

          5. Any party opposing a dispositive motion, including a motion for summary judgment,

shall file and serve their response on or before December 28, 2021. 2

          6. Any pretrial motions shall be filed and served on or before January 4, 2022. 3

          7. The parties shall file all motions and responses with the Clerk and serve a copy on this

office. All motions (except those relying solely on a Federal Rule of Civil Procedure) shall be

accompanied by a brief, not to exceed twenty-five (25) pages without prior leave of court. There

shall be no reply briefs unless requested, or authorized, by the undersigned.




          1
           Upon any motion for summary judgment pursuant to Federal Rule of Civil Procedure 56, there
shall be filed with the motion a separate, short and concise statement of the material facts, in numbered
paragraphs, as to which the moving party contends there is no genuine issue to be tried.

         The papers opposing a motion for summary judgment shall include a separate, short and concise
statement of the material facts, responding to the numbered paragraphs set forth in the statement required
in the foregoing paragraph, as to which it is contended that there exists a genuine issue to be tried.

         Statements of material facts in support of or in opposition to a motion shall include references to
the parts of the record that support the statements.

        All material facts set forth in the statement required to be served by the moving party may be
taken by the Court as admitted unless controverted by the opposing party.

        If possible, any deposition transcripts used as exhibits to these filings shall be submitted in an
electronic format, able to be copied into Microsoft Word.
          2
          Any party opposing a motion for summary judgment shall comply with the directives noted in
footnote 1.
          3
          In addition, any party who contends that the proposed testimony of any expert witness is
inadmissible in whole or in part, pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.
579, 113 S. Ct. 2786, 125 L.Ed.2d 469 (1993), shall file a Daubert motion and proposed Order,
accompanied by a brief, on or before this date.

                                                      2
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       8. All other dates including Trial Submissions, Final Pretrial Conference, Trial, Final

Proposed Findings of Fact, and Closing Arguments will be scheduled by subsequent order.




                                                    BY THE COURT:


                                                    /s/ Henry S. Perkin
                                                    HENRY S. PERKIN
                                                    United States Magistrate Judge




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